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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
        v.                                    )       Docket No.: 1:21-cr-10118-IT-1
                                              )
JOSE LARIOS                                   )


                                         NOTICE

        After review of this case pursuant to Gen. Order 23-5 (Concerning Appointment

of Counsel And Motions For Retroactive Guideline Applications), the Federal Public

Defender Office discerns no viable claim. Specifically, undersigned counsel reviewed

Mr. Larios’ case for eligibility under U.S.S.G. § 4C1.1 as amended by Part B of

Amendment 821 to the United States Sentencing Guidelines. Although Mr. Larios had

zero criminal history points, he does not otherwise meet the criteria set forth at U.S.S.G.

§ 4C1.1. Consequently, the Federal Public Defender Office will neither seek appointment

to represent Mr. Larios nor assign CJA counsel to file a motion seeking to represent him

in this matter.



                                                      Respectfully Submitted,

Dated: 4/1/24
                                                      Sandra Gant
                                                      Sandra Gant
                                                      Federal Public Defender Office
                                                      51 Sleeper Street, 5th Floor
                                                      Boston, MA 02210
                                                      Tel: 617-223-8061
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                             CERTIFICATE OF SERVICE

        I, Sandra Gant, hereby certify that this document filed through the ECF system
will be sent electronically and/or via USPS to the registered participants as identified on
the Notice of Electronic Filing (NEF) on April 1, 2024.


                                                      Sandra Gant
                                                      Sandra Gant




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